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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

  PRESIDENT AND FELLOWS OF                       §
  HARVARD COLLEGE,                               §
                                                 §
                Plaintiff,                       §
                                                 §
  v.                                             §
                                                 §   CASE NO. 2:24-cv-00636-RWS-RSP
  SAMSUNG ELECTRONICS, CO. LTD.,                 §
  SAMSUNG ELECTRONICS AMERICA                    §
  INC., and SAMSUNG AUSTIN                       §
  SEMICONDUCTOR, LLC,,                           §
                                                 §
                Defendant.                       §

                                             ORDER

        Before the Court is the Notice of Dismissal filed by Plaintiff President and Fellows of

 Harvard College. Dkt. No. 10. In the Notice, Plaintiff represents that the above-captioned case is
 .
 voluntarily dismissed WITH PREJUDICE. Id. at 1.

        In light of the Notice, which the Court ACCEPTS AND ACKNOWLEDGES, and

 pursuant to Rule 41(a)(1)(A)(i), all pending claims and causes of action in the above-captioned

 case are DISMISSED WITH PREJUDICE. All pending requests for relief in the above-

 captioned case not explicitly granted herein are DENIED AS MOOT. Each party is to bear its

 own costs, expenses, and attorneys’ fees.

        The Clerk of Court is directed to CLOSE the above-captioned case as no parties or claims

 remain.
           SIGNED this 3rd day of January, 2012.
           SIGNED this 28th day of January, 2025.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
